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The Honorable Alison J. Nathan
November 25, 2020
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             harassment of the sureties and other third parties, including minor children. They are
             legitimately afraid that if their identities become public, they will be subjected to the
             same relentless media scrutiny and threats that Ms. Maxwell has experienced for
             more than a year, like the following sample of social media posts:

                     “they need to get this bitch n string her up by her neck . . . f*cking monster . . .
                     #GhislaineMaxwell.”

                     “I hope someone finds her and kills her. That would be justice. Obviously her
                     lawyers know’s where she is, someone should stick them up to batteries untill we
                     find out where she is.”

                     “SHE'S HERE in #Massachusetts ?! The bitch #GhislaineMaxwell who
                     #SexTrafficked young girls for #Epstein ?!?! Why the hell isn't she being brought in
                     for questioning @ManchesterMAPD ?! WE DO NOT WANT HER HERE!
                     #SleezyLeach She is CLOSE ENOUGH to me, I could grab her myself!”

         •   A financial report, prepared by the accounting firm Macalvins Limited, that provides
             a summary of Ms. Maxwell’s financial condition from 2015-2020 and discloses all of
             her assets, all assets held in trust, and assets held by other family members.

         •   A discussion and analysis of certain materials produced by the government in
             discovery marked “Confidential” and their impact on the government’s case against
             Ms. Maxwell, which must be filed under seal pursuant to the terms of the Protective
             Order in this case (Dkt. 36).

          Fed. R. Crim. P. 49.1(d) provides that “a court may order that a filing be made under seal
  without redaction. The court may later unseal the filing or order the person who made the filing
  to file a redacted version for the public record.” While the Second Circuit has recognized a
  presumption of access under both common law and the First Amendment, it is appropriate to
  permit the filing of documents under seal if “countervailing factors” in the common law
  framework or “higher values” in the First Amendment framework so demand. Lugosch v.
  Pyramid Co. of Onandaga, 435 F.3d 110, 124 (2d Cir. 2006); see also Unites States v. Wey, 256
  F. Supp. 3d 355, 411 (S.D.N.Y. 2017) (Nathan, J.) (granting motion to seal evidentiary exhibits
  and finding that privacy interests “outweigh any public interest in disclosure, whether derived
  from the First Amendment or the common-law right of access”).

         Moreover, a lower presumption of public access applies to documents submitted in
  connection with powers that are “ancillary to the court’s core role in adjudicating a case” than to
  “material introduced at trial, or in connection with dispositive motions.” Brown v. Maxwell, 929
  F.3d 41, 49-50 (2d Cir. 2019) (applying lower presumption to documents submitted in
  connection with discovery and evidentiary motions than to summary judgment filings). Thus, a
  lower presumption of public access attaches the parties’ pretrial bail submissions than to exhibits
  introduced at trial or in connection with a motion to dismiss.
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